         Case 8-17-08082-reg              Doc 25     Filed 02/05/18        Entered 02/05/18 12:25:42




UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK

In re:                                                           Chapter 11

FEDERATION EMPLOYMENT AND                                        Case No. 15-71074(REG)
GUIDANCE SERVICE, INC. d/b/a FEGS,

                     Debtor.
THE OFFICIAL COMMITTEE OF                                        Adv. Proc. No. 17- 08082 (REG)
UNSECURED CREDITORS OF FEGS,

                             Plaintiff,

             vs.

RIVERSIDE PARK COMMUNITY, LLC,

                             Defendant.

    ORDER APPROVING MOTION OF THE OFFICIAL COMMITTEE OF UNSECURED
              CREDITORS, PURSUANT TO FED. R. BANKR. P. 9019,
              FOR ENTRY OF ORDER APPROVING SETTLEMENT


                    Upon consideration of the Motion of the Official Committee of Unsecured

Creditors, Pursuant to Fed. R. Bankr. P. 9019, for Entry of an Order Approving Settlement (the

“Motion”);1 and the notice of the Motion having been adequate; and sufficient legal and factual

bases existing for the relief requested; and the Court having jurisdiction to consider the Motion

pursuant to 28 U.S.C. §§ 1334 and 157(b)(2); and the Court finding that the settlement

agreement was negotiated at arm’s length and entered into in good faith by the parties and that

the benefits to be derived from the settlement are material and outweigh the risks of the

continued pursuit of the adversary, it is hereby ORDERED that:

                    1.       The Motion is GRANTED.


1
    Capitalized terms not otherwise defined herein shall have the same meanings given to them in the Motion.
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               2.       The Agreement attached as Exhibit A to the Motion is hereby approved

pursuant to Bankruptcy Rule 9019.

               3.       Any claim pursuant to section 502(h) of the Bankruptcy Code shall be and

hereby is disallowed.

               4.       The Adversary Proceeding shall be and hereby is dismissed with

prejudice.

               5.       The Court retains jurisdiction with respect to all matters arising from or

related to the implementation, interpretation, and enforcement of this Order.




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 Dated: Central Islip, New York                                    Robert E. Grossman
        February 5, 2018                                      United States Bankruptcy Judge


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